     Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 1 of 23




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


CIERRA GETER,

     Plaintiff,                                         CIVIL ACTION FILE

                                                        No. 1:20-CV-1148-SCJ
V.



SCHNEIDER NATT CARRIERS, INC.,

     Defendant




                                           ORDER

        This matter appears before the Court on Defendant's Motion for Summary


Judgment (Doc. No. [46]), the Magistrate Judge's Report and Recommendation

(//R&R//) granting it (Doc. No. [53]), and Plaintiffs Objections to the same (Doc.

No. [57]).i




1 All citations are to the electronic docket unless otherwise noted/ and all page numbers
are those imprinted by the Court's docketing software.
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 2 of 23




I. BACKGROUND

       Defendant filed a Motion for Summary Judgment (Doc. No. [46]) and

statement of undisputed material facts (Doc. No. [46-2]). Plaintiff responded in

opposition to both. Doc. Nos. [50]; [50-1]. Defendant replied. Doc. No. [51].


Plaintiff also filed her own additional statement of undisputed material facts

(Doc. No. [50-2]) to which Defendant responded (Doc. No. [52]).

       The Magistrate Judge issued a R&R granting Defendant's Motion for

Summary Judgment. Doc. No. [53]. 2 Plaintiff timely objected to the R&R/s

dismissal of her claims for failure to accommodate/ discrimination/ and


retaliation under the Americans with Disabilities Act of 1990, as amended/ 42




2 Unless otherwise objected to/ the Court adopts the facts as set forth in the R&R. Any
factual issues raised in the Plaintiffs Objections and Defendant's Response shall be
addressed concurrently with their application to the law/ as discussed infra III.
       Pursuant to Local Rule 56.1 (B)/ the Court will deem a fact admitted unless it is
directly refuted with concise responses supported by specific citations to evidence/ a
party lodges a valid objection to admissibility/ or the citation does not support the fact.
When a fact is undisputed/ the Court includes the fact.
       For disputed facts/ the Court reviews the record to determine if a material dispute
exists. Where the other party's response reflects the record cited more accurately, the
Court modifies the proposed fact and cites the record. The Court also rules on objections
to proposed facts and excludes immaterial facts/ those stated as an issue or legal
conclusion/ those not supported by a citation to evidence/ or those that the record
citation fails to support. Finally/ where appropriate/ the Court includes facts drawn from
its review of the record.
                                          2
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 3 of 23




U.S.C. § 12101 et seq. ("ADA"}. Doc. No. [57]. Defendant responded. Doc. No.


[60].

II. LEGAL STANDARD

        A district judge has a duty to conduct a careful and complete review of

a magistrate judge's R&R. WiUiams v. Wainwright, 681 F.2d 732, 732

(llfh Cir. 1982) (per curiam) (quoting NetUes v. Wainwright, 677 F.2d 404, 408

(5th Cir. Unit B 1982)).3 The Court must "make a de novo determination of those

portions of the report or specified proposed findings or recommendations to


which objection is made." 28 U.S.C. § 636(b)(l). After conducting this review, the

Court // may accept, reject, or modify in whole or in part/ the findings or


recommendations made by the magistrate judge/7 Id. The Court may also


 receive further evidence or recommit the matter to the magistrate judge with


instructions. Id. Those portions of the R&R to which no objection is made need


only be reviewed for "clear error/' Macortv. Prem, Inc., 208 F. App/x 781, 784


(llth Cir. 2006) (per curiam).




3 In Banner v. City of Prichard, 661 F.2d 1206, 1209 (llth Cir. 1981) (en banc)/ the
Eleventh Circuit adopted as binding precedent all decisions rendered prior to the close
of business on September 30, 1981 by the United States Court of Appeals for the Fifth
Circuit.
                                        3
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 4 of 23




III. ANALYSIS

          The Court notes that Plaintiff does not specifically object to any of the

R&R/s conclusions regarding her race discrimination claims under Title VII of the


Civil Rights Act of 1964, as amended/ 42 U.S.C. § 2000e et seq. and 42 U.S.C. § 1981

(Counts rV-V of Plaintiffs Complaint). Doc. No. [57]. Finding no clear error/ the


Court ADOPTS that portion of the R&R. Lattimore v. Bank of Am., N.A., 2014


WL 11456272, *1 (N.D. Ga. Feb. 10, 2014), affd sub nom. Lattimore v. Bank of


Am. Home Loans, 591 F. App/x 693 (llth Cir. 2015) (noting that R&R findings to

which no specific objection is made are reviewed by the district court for clear


error).


          Plaintiff does, however, object to the R&R/s conclusions concerning her


ADA failure to accommodate, discrimination, and retaliation claims (Counts I-III


of Plaintiffs Complaint). Doc. No. [57], 4. The Court conducts a de novo review of


these claims, and any applicable objections and facts associated with them, as


follows.


          A. Plaintiff's Failure to Accommodate Claims


          To establish a failure to accommodate claim under the ADA, Plaintiff must

show that: (1) she has a disability that was known to Defendant; (2) she was
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 5 of 23




qualified to perform the essential functions of her job/ with or without reasonable


accommodation; and (3) Defendant refused to reasonably accommodate her


disability. Pritchard v. S. Co. Servs., 92 F.3d 1130, 1132 (llth Cir. 1996). That

Plaintiff has a disability is not in dispute so the "first task is to identify the

essential functions of [her] job// Lucas v. W.W. Grainger, Inc., 257 F.3d 1249,1258


(llth Cir. 2001).

      Plaintiff claims that the R&R erred in concluding that she //is not a qualified

individual with a disability, could not perform the essential functions of her job/

and did not request a reasonable accommodation" by construing the facts in the


light most favorable to the movant Defendant, disregarding evidence supporting


her claim, not considering dishonesty as affirmative evidence of guilt, and


ignoring that the ADA requires employers to accommodate employees even


when it is inconvenient Doc. No. [57], 4. Specifically, Plaintiff claims the R&R

focused too heavily on Defendant's own judgment about the job's essential


functions and paid short shrift to the actual job description, Defendants remote

and flexible work policies, and work experience of past employees and others in


sunilar jobs. Doc. No. [57], 8-9. On de novo review/ the Court carefully parses the


undisputed material facts concerning written job description, time spent
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 6 of 23




performing the function/ consequences of not requiring the employee to perform


the function, experience of other past or current individuals performing a similar


function to determine if full-time, in-person, fast-paced work was an essential


function of Plaintiffs APM role. See Samson v. Fed. Express Corp., 746 F.3d 1196,


1201 (llth Cir. 2014) (citing 29 C.F.R. § 1630.2(n)(3)(ii-vii)).

      1. Plaintiff's Job Description

      Plaintiff claims that the R&R erred by finding that "fuU-time work" was an

essential function of her job. Doc. No. [57], 7. Defendant responds that Plaintiff


understood/ when she applied for and accepted the position, that it was full-time.


Doc. No. [60], 6/ 8. This is undisputed. Doc. No. [50-1], ^ 13.


      It is also undisputed that Plaintiff could not work more than three ten-hour


days a week/ on Sunday/ or on Monday. Doc. No. [50-1]/ ^ 42-43, 45-46.


However, Plaintiff disputes that her APM position can only be performed full-

time because the term //fuU-time// is not in the job description. Id. Plaintiff claims


that, without citation to authority, the R&R allowed Defendant to circumvent the

job description's dearth of any //fuU-time// requirement by relying on the "other


duties as assigned" and "not exhaustive or comprehensive list" catchall


language. Doc. No. [57], 9 (citing Doc. No. [53] 33, 42-44)]. That a job description
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 7 of 23




is not exhaustive does not give an employer carte blanche to retroactively expand


a position's essential functions. See Snead v. Fla. Agric. & Mech. Univ. Bd. of Trs.,


No. 17-10338, 724 F. App/x 842, 845 (llth Cir. Feb. 21, 2018) (defendants

argument that functions absent from plaintiffs written job description were

essential because the description was "not exhaustive" failed because //[a]


reasonable jury could have. .. decided that the form's plain labeling outweighed


any other evidence presented" in testimony by defendant's officials). As a result/


the job description is a factor that weighs more in Plaintiffs than Defendant's

favor.


         2. Defendant's Work Policies


         Plaintiff also claims that the R&R construed all the inferences from

Defendant's Flexible Work Arrangement Policy (//FWP//) in Defendant's favor.


Doc. No. [57], 9. The R&R concluded that the FWP does not support Plamtiffs

argument that full-time work was not an essential function of her job because her


characterization of it maccurately suggested that she was guaranteed part-time


or remote work. Doc. No. [53]/ 46. As the R&R noted/ under the FWP/ the


implementation of a "work arrangement other than full time" is on a //case-by-


case basis" and guided by the principles that any "benefit to the organization


                                        7
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 8 of 23




should outweigh the cost" and produce a win-win situation to the organization


and associate[.]// Doc. No. [53], 44-45. Further, the FWP/s considerations include


business needs, the duration, the type of work the employee performs, the needs


or co-workers, direct reports/ and leaders, critical hours and days for meeting


those needs. Id. at 45. Plaintiff claims that the R&R should have considered that/


under the ADA and EEOC Guidance, Defendant was required to preferentially

apply the FWP to accommodate Plaintiffs disabilities. Doc. No. [57]/ 10 (citing

HoUy v. Clairson Indus., LLC, 492 F.3d 1247,1262-3 filth Cir. 2007); Garcia-Ayala

v. Lederle Parenterals, Inc., 212 F.3d 638, 647-48 (1st Cir. 2000); U.S. Equal Emp.


Opportunity Comm/n./ EEOC-CVG-2003-1/ Enforcement Guidance on


Reasonable Accommodation and Undue Hardship under the ADA/ Questions 17,


22 (Oct 17, 2002)). These authorities are neither applicable4 nor binding and do

not illuminate whether fuU-time work was an essential aspect of Plaintiffs


position so much as whether her accommodation request was reasonable.


Consequently, the FWP does little to clarify whether full-time work was an




4 While Holly was in this Circuit/ the case is distinguishable because the court examined
whether defendant failed to accommodate plaintiff s disability by applying its objective/
no-fault tardiness policy to him. 492 F.3d 1247,1254. Here/ Plaintiff claims a failure to
accommodate based on Defendant's application of its case-by-case FWP. The two
situations are not analogous/ and Plaintiffs Objection offers no reason to rely on them.
                                          8
   Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 9 of 23




essential function of the APM position and/ if construed with the inferences in


Plaintiffs favor, is a neutral factor.


       3. Defendants' Other Employees

       The R&R also examined the experience of other employees in Plaintiffs

role. Plaintiffs objection that another employee testified that she was aware of

other employees permitted to work part-time is not supported by the record. Doc.


No. [57], 17-18 (citing Doc. No. [50-2], 1 4).s Likewise/ it is undisputed that

Defendant had no part-time employees in Plaintiffs position at her location. Doc.


Nos. [53], 56; [60], 6, 8. Consequently, the experiences of other APMs are a factor

that weighs in Defendant's favor.


       Plaintiff also claims that part-time work was possible because her


supervisor/ Travis Torrence/ effectively worked part-time and the R&R erred by


excluding this evidence as hearsay. Doc. No. [57], 17 (citing Doc. No. [52-2], ^ 91).

Specifically, Plaintiffs declaration and statement of undisputed material facts

assert that //Torrence took off between 80 and 83 days in 2018 and [she] had




5 Although Plaintiff claims that //APM Kopf testified that she is aware that Schneider
employees were permitted to work part-time" (Doc. No. [57]/16-17), the citation is to a
statement of undisputed material fact pertaining to Torrence's tenure and supported by
his deposition testimony (Doc. No. [5-2-, ^ 4).
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 10 of 23




personal knowledge of this because she viewed the Fairbum calendar to which


all employees had viewing access/" Doc. Nos. [50-3], ^ 10; [52], ^ 91. Defendant

counters that Plaintiffs declaration does not establish sufficient personal

knowledge of Torrence's days off because she did not always work the same


shifts as Torrence6, was out on leave from October 9, 2018 through January 2,


20197, and did not provide the calendar upon which she relied.8 Doc. Nos. [52], ^

91; [60], 7 (citing Doc. No. [53], 54-55). Plaintiff admits that her declaration //is

offered to show that Schneider permitted employees to work part-time[/]// but


claims it is not hearsay because Torrence cannot dispute it and //it is reducible to


admissible evidence at trial through the calendars that are exclusively in


Schneider's control/7 Doc. No. [57]/ 17 (citing Macuba v. Deboer, 193 F.3d 1216,


1322 (llth Cir. 1999)).9




6 It is undisputed that Plaintiff worked the third shift/ while Torrence supervised second
and third shift APMs and Driver Team Leaders. Doc. No. [52], ^ 5-7, 9-10.
7 It is undisputed that Plaintiff was on leave from October 9/ 2018 through January 2019.
Doc. Nos. [50-1]/ m 33, 35-37; [52], ^ 36-37.
8 It is undisputed that no exhibits are attached to Plaintiffs declaration. Doc. No. [50-3].

9 Plaintiff cited/ without explanation/ a case in which the court examined the
admissibility of testimony (offered in both a witness deposition and subsequent
affidavit) that plaintiff was on a hit list of employees to fire. Doc. No. [57]/ 17. While
binding/ this case does not advance Plaintiffs argument because the court found that
such evidence was hearsay. Macuba, 193 F.3d 1325.
                                           10
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 11 of 23




      Hearsay is an out of court statement offered to prove the truth of the matter


asserted, which does not fall under a hearsay exception. Fed. R. Evid. 801 (c). An


affidavit or declaration—which is an out of court statement—may contain hearsay


if the statement is offered to prove the truth of the matter asserted. See 10A


Charles A. Wright & Arthur R. MUler, Federal Practice and Procedure § 2722,58-

60 (4th ed., 2021) ("affidavits are ex parte documents") (internal citations

omitted). When submitted to support or oppose summary judgment, motions


and affidavits or declarations that "must be made on personal knowledge/ set out


such facts that would be admissible in evidence, and show that the affiant or

declarant is competent to testify on the matters stated/7 Fed. R. Civ. P. 56(c)(4).


Plaintiff admits that her personal knowledge about Torrence/s days worked is


gleaned from a calendar. Doc. No. [52]/ ^ 91. She further admits that she offers


this fact "to show that Schneider permitted employees to work part-time" but


does not assert any hearsay exceptions. Doc. No. [57], 17. Therefore, the R&R


correctly concluded that Plaintiffs statements concerning Torrence working


part-time are inadmissible hearsay. Doc. No. [53], 55.


      The R&R also correctly concluded that because Plaintiffs personal

knowledge of the Torrence s work schedule is based on the calendar and



                                       11
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 12 of 23




Defendant objected to it, the Court can only consider it if Plaintiff sets forth other


admissible facts. Doc. No. [53], 55 (citing McGowan v. AME Fin. Corp., l:08-cw-


8976-BBM-LTW, 2009 WL 10666307, *15 (N.D. Ga. Dec. 18, 2009)).io Although

Plaintiff objects that these calendars "are exclusively in Schneider/s controF she


does not explain whether they were sought or produced during an extended


discovery period lasting ahnost a year. Doc. Nos. [15]; [32]; [42]; [57]/17.11 As a



10 See also F.T.C. v. Nat/l Urological Grp., Inc., 645 F. Supp. 2d 1167,1179 (N.D. Ga. 2008),
affirmed 356 F. App x 358, rehearing and rehearmg en banc derded 401 F. App/x 522,
certiorari denied 562 U.S. 1003 (holding that the proper method to challenge an affidavit
filed on a motion for summary judgment is to challenge the admissibility of the evidence
contained therein); McLendon v. Ga. Kaolin Co., Inc., 782 F. Supp. 1548,1558 (M.D. Ga.
1992) (holding that only competent and admissible evidence can be used to overcome
motion for summary judgment; in particular/ affidavit may only be considered m ruling
on summary judgment if it is based on personal knowledge/ sets forth facts admissible
in evidence, and shows affiant to be competent to testify); Aurel v. Sch. Bd. of Miami-
Dade Cnty. Pub. Schs., 261 F. Supp. 2d 1375,1378 (S.D. Fla./ 2003) (plaintiff failed to
show he had personal competence to testify regarding other employees allegedly being
treated differently/ particularly with regard to the disciplinary action/ and thus/ his
response to a summary judgment motion violated the rule governing summary
judgment affidavits); 10A Wright & MUler/ § 2722, 58-60 (affidavits offered on a
summary-judgment motion are scrutinized carefully by the court to evaluate they
probative value and to determine whether they meet the standards prescribed in Rule
56(c)(4) as to form and content/ although the court may consider an insufficient affidavit
if there is no objection to it/').
u See also Sch. Bd. of Okaloosa Cnty. v. Richardson, 332 F. Supp. 1263,1269 (N.D. Fla.
1971) (affidavit in opposition to motion for summary judgment which is based on
affiant's belief must/ in addition to pointing out facts that are largely or exclusively
within control of the moving party/ describe the affiant's attempts to secure the facts
and state why affiant has been unable to obtain facts not exclusively within movants'
knowledge and contain the knowledge or information that affiant has warranting or
justifying affiant's belief).
                                            12
     Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 13 of 23




result, the R&R correctly concluded that Plaintiffs declaration statement


concerning Torrence/s part-time work is disputed hearsay and cannot be


considered on summary judgment. Doc. No. [53], 55 (citing Doc. No. [47-2]/ 59:22-


60:12).i2

        Even assuming/ arguendo, that Plaintiffs declaration statement was


admissible and considered on summary judgment/ information about Torrence/s


work schedule does not weigh in Plaintiffs favor unless she can show that he


performed a sumlar function to her. Samson, 746 F.3d 1201 (citing 29 C.F.R. §


1630.2(n)(3)(vii)). As the R&R noted/ Torrence and Plaintiff held different

positions. Doc. No. [53]/ 55. See also Doc. Nos. [50-1], ^ 8; [52], ^ 4-5.


Consequently, absent Plaintiffs argument that Torrence and Plaintiffs positions


perform similar functions/ it is, at best, a neutral factor in assessing the essential


nature of her full-time work.


        4. The Consequences of Plaintiffs Part-Time Role

        Additionally, the R&R examined the consequences of allowing Plaintiff to

work part-time/ fmding that it was undisputed that Defendant's other employees


had to cover her shift. Doc. No. [53], 54 (citing Doc. No. [50-1], ^ 38). Plaintiff does



12

                                         13
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 14 of 23




argues that there is no evidence that there is no evidence that Ms. Geter working


fuU-time caused her co-workers to work more than their scheduled 40 hours per


week to cover for her/ so it could not have been a burden to them[.]// Doc. No.


[57], 20. However, that is directly contradicted by the undisputed material facts/

wherein Plaintiff admitted that //[a]ny time no one is there everybody does twice

as much work, no matter whether it's Sunday through Saturday. Whoever is on


that third shift, if they re by their self, they/re taking the workload of everybody,

So yes, I do concur with that." Doc. No. [50-1]/ ^ 49-51. Therefore, the R&R did


not err in finding that the consequence of allowing Plaintiffs role to be performed

part-time were more work for her coworkers, a factor which weighs in favor of


finding that fuU-time work was essential to her role.


      5. Defendant's Judgment


      Lastly, the R&R considered "the employer's judgment as to what functions


of a job are essential/' Doc. No. [53]/ 40 (citing 42 § U.S.C. 12111(8); Webb v.

Wynne, 2:07-cv-471-ID, 2008 WL 4831740, *6 (M.D. Ala., Nov. 3, 2008)). The R&R

noted the Defendant's and supervisor's judgment that APMs "were expected to


work full-time because Schneider needed to ensure it had the resources to


sufficiently support driver and dispatch loads all hours of the day." Doc. No. [53],


                                        14
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 15 of 23




54 (citing Doc. Nos. [50-1]/ ^38; [50-4], ^ 7-8; [46-3]/ ^ 5-6,10,12-14; [46-6]/ 51-

53, 67-68; [45-5], 16; [46-4], 69-70,100-03,109,114,139, 137,146-48,151-52,154,

160,162,165; [5-3], ^6). Although Plaintiff disputed this, she only cited the FWP

to support her position. Doc. No. [51-1] (citing Doc. Nos. [50-5], 31:1-32:7; [50-9]/

15:17-16:7). As these citations do not directly refute Defendant s cited facts, the


Court wiU deem Defendants fact admitted. LR 56.1 (B), NDGa. Therefore/ the


employer's judgment that full-time work was an essential element of Plaintiffs


position weighs in Defendant s favor.


      Plaintiff argues that her case is distinguished from those upon which the

R&R and Defendant reply because she "was still performing all the essential

functions of her job[.]// Doc. No. [57]/ 20. This assertion is circular because it


assumes the very same disputed legal premise—that working full-time is not an


essential function of Plaintiffs job—for which it is offered. Plaintiff also claims/

without explanation, that the R&R/s citation to Medearis v. CVS Pharmacy/ Inc.,


is distinguishable because she "was not seeking to have a duty removed/" Id. (646

F. App'x 891,896, (llth Cir. 2016). However/ the R&R only cited Medearis for the

proposition that substantial weight is given to "written descriptions [because

they] are evidence of the employer's judgment regarding which functions of a job


                                        15
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 16 of 23




are essential[.]// Doc. No. [53]/ 43. The R&R examined numerous factors in


concluding that full-time work was essential to an APM position at Fairbum so,


to the extent to that is relied on Ivledearis at all, such reliance was minimal and


not error. Id. Similarly/ Plaintiff claims, without explanation, that her case is


distinguishable from Rabb v. Sch. Bd. of Orange Cnty., because she only "needed


to work reduced hours temporarily until her planned full-time return to work on


June 5/ 2019[.]// 590 F. App/x 849,842 (llfh Cir. 2014)). However, the R&R did not

cite to, let alone rely on, Rabb. Doc. No. [53]. As a result. Plaintiff s objections here


are without merit.


       On balance, the consequences of not requiring the employee to perform the


function, and experience of other past or current individuals performing a similar


function, and Defendant's judgment weigh in Defendant's favor concerning the


essential function of fuU-time work as an APM. Even when construing all


inferences from disputed material facts in Plaintiffs favor, only one factor—the


job description omitting the term "full-time" — weighs in Plaintiffs favor.

Ultimately Plaintiff did not meet her burden of citing to sufficiently specific and

admissible facts m the record to refute the undisputed material facts submitted

by Defendant's concerning the essential nature of full-time work for APMs at



                                          16
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 17 of 23




Fatrbum. See, e.s. Matushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,


587 (1986); Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986) (the non-movant

must designate "specific facts showing there is no genuine issue for trial");


Andersonv. Liberty Lobby, Inc., 477 U.S. 242,252 (1986) (//the existence of a mere


scintilla of evidence" supporting the non-movant is insufficient to defeat a


motion for summary judgment). Therefore, the R&R did not err by finding that

fuU-time work was an essential function of Plaintiff s role.


      The threshold inquiry in an ADA accommodation claim is whether a

plaintiff is a qualified individual who can/ with or without accommodation,

perform the essential function of her job. 42 U.S.C. § 12111(8). It is undisputed

that Plaintiff could not work a full-time schedule and, because the undisputed


material facts show that this was an essential function of her job, she is not a


qualified individual entitled to an accommodation under the ADA. See e.g. Davis


v. Fla. Power & Light Co., 205 F.3d 1301,1305 filth Cir. 2000) fciting Cramer v.

Fla., 117 F.3d 1258, 1264 (llth Cir.1997)) (holding that if plaintiff is unable to

perform an essential function of his job, even with an accommodation/ he is not


a covered individual under the ADA). Accordingly/ the Court ADOPTS the




                                       17
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 18 of 23




R&R/s finding that Plaintiff was not a qualified individual requirmg an

accommodation under the ADA.


        B. Plaintiff's Disabilitv Discrimination and Retaliation Claims

        Plaintiff claims that the R&R erred in recommending dismissal of her ADA

discrunination and retaliation claims because it relies on the wrong standard/


improperly addresses pretext even though Schneider failed to articulate any


"legitimate7 reasons for its actions and relies in the pretext analysis on the same


errors underlying the erroneous conclusion that [she] could not perform the


essential functions of her job/" Doc. No. [57]/ 4.


        1. ADA Discrimination Claims

        As with ADA failure to accommodate claims, a disability discrimination

claim requires that the plaintiff show she has a disability, was a qualified

individual, and was discriminated against because of the same. HoUy, 492 F.3d


1255.


        Here, as in Plaintiffs failure to accommodate claim/ it is undisputed that

she was an individual with disability. Likewise, and the for the reasons


previously discussed, the R&R correctly concluded that the Plaintiff was not a

qualified individual because she could not perform the essential functions of her



                                        18
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 19 of 23




job with or without an accommodation. See supra III.A. As a result. Plaintiff


cannot make out her prima facie case for discrimination under the ADA. See, e.g.


Tordan v. City of Union City, Ga., 94 F. Supp. 3d 1328, 1344 (N.D. Ga.2015)

affirmed 646 F. App/x 736, 2016 WL 1127739 (no discrimination where police

officer in training was terminated because he was not a qualified individual


where his anxiety disordered prevented him performing essential functions of


his position); Rogers v. Norman W. Fries, Inc., 418 F.Supp.3d 1295 (S.D. Ga. 2019)


(no discrimination under the ADA where court determined that ADA was not


qualified where her vision precluded her from performing the essential functions

of her the job she sought). Accordingly, the Court ADOPTS the R&R/s finding

that Plaintiff was not a qualified individual under the ADA and cannot sustain

her discrimination claims.


      2. ADA Retaliation Claims

      With regard to Plaintiffs retaliation claim, the R&R concluded that

Plaintiff established a prima facie case. Doc. No. [53]/ 87. However, the R&R


found that Defendant proffered a legitimate non-discrimmatory reason for


Plaintiffs termination because she could not perform the essential functions of


her job. Id. at 97. Plaintiff objects that Defendant "failed to articulate any alleged


                                        19
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 20 of 23




legitimate reason" for Plaintiffs termination so the R&R did so on Defendant's


behalf. Doc. No. [57], 25. Tliis is not so. Doc. No. [53]/ 97 (citing Doc. No. [46-1]/


25).

       To be sure, the legitimate non-discrimtnatory reason Defendant proffered


was succinct and identical to the reasons proffered for finding that Plaintiff was

not qualified. However, the employer's burden is merely one of production; it


"need not persuade the court that it was actually motivated by the proffered


reasons. It is sufficient if the defendant's evidence raises a genuine issue of fact


as to whether it discriminated against the plaintiff. Chapman v. AI Transp., 229


F.3d 1012,1024 (llth Cir. 2000) (quoting Combs v. Plantation Patterns/106 F.3d

1519,1528 (llth Cir.1997) (internal citations omitted)). Consequently, the R&R

did not err in determining that Defendant had a legitimate non-discriminatory


reason for Plaintiffs termination and the burden shifted to the Plaintiff to show

by a preponderance of evidence that Defendant's proffered reason was pretext.


See, e.g. McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973); Earl v. Mervyns,


]i\c^ 207 F.3d 1361,1365 (llth Cir. 2000); Stewart v. Happy Herman's Cheshire

Bridge, Inc., 117 F.3d 1278, 1287 (llth Cir. 1997) ("we assess ADA retaliation

claims under the same framework we employ for retaliation claims arising under



                                        20
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 21 of 23




Title VIF); Turner v. Inzer, 521 F. App'x 762, 764 (llth Cir. 2013) (citing

Peimington v. City of HuntsvUle, 261 F.3d 1262,1266 (llth Cir. 2001)).

      To show that a defendant's proffered reason is not entitled to credence the


plaintiff must demonstrate "such weaknesses, implausibilities/ inconsistencies,


incoherencies, or contradictions in the employer's proffered legitimate reasons


for its action that a reasonable factfinder could find them. unworthy of credence."


Combs v. Plantation Patterns, 106 F.3d 1519, 1538 (llth Cir. 1997) (citation

omitted). //[A] reason is not pretext for [retaliation] "unless it is shown both that

the reason was false, and that [retaliation] was the real reason/" Springer v.


Convergys Customer Mgmfc Grp. Inc., 509 F.3d 1344, 1349 (llth Cir. 2007)

(quoting Brooks v. Cnfry. Conun/n of Tefferson Cnty., 446 F.3d 1160, 1163 (llth

Cir. 2006)) (emphasis in original). To show pretext, a plaintiff cannot "recast an

employer's proffered [] reason or substitute her business judgment for that of the


employer/7 Chapman, 229 F.3d 1030.


      Notably, Plaintiff did not make any pretext arguments in her Response in

Opposition to Defendant's NIotion for Summary Judgment. Doc. No. [50], 21-22

(//the burden shifted to Schneider to articulate a legitimate non-retaliatory reason


for its termination . . . Schneider skips this step, has waived this argument/ and



                                       21
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 22 of 23




summary judgment must be denied77). The Court has discretion not to entertain


arguments raised for the first time in objections to an R&R. WiUiams v. McNeil,


557 F.3d 1287, 1292 (llth Cir. 2009) (holding a district court has discretion to

decline to consider a party's argument when that argument was not first


presented to the magistrate judge, allowing new arguments and evidence to be


presented after the issuance of an R&R frustrates the purpose of the magistrate


judge system).

      On objection/ Plaintiff claims, for the first time/ that she can demonstrate


pretext because "she was, in fact/ capable of performing the essential functions of


her job with her requested accommodation. Doc. No. [57]/ 26. Assuming/


arguendo, that Plaintiff had asserted the pretext argument she now asserts in her


objection, it is precisely the assertion the R&R rejected. Doc. No. [53]/100 (citing

Doc. [50], 24-25) ("Plamtiff merely asserts that Defendant's articulated reason for

her termination was pretextual because she has shown that she was capable of


performing the functions of her job without her requested accommodations"). As


a result, "Plaintiff merely rehashes the argument [which the Magistrate Judge

effectively made for her] without offering any persuasive reasons why the

Magistrate Judge was wrong/" Snodgrass v. Lndep. Physicians. Res., Inc., 1:13-



                                       22
  Case 1:20-cv-01148-SCJ Document 61 Filed 03/21/22 Page 23 of 23




CV-3958-SCJ, 19 (N.D. Ga. Mar. 25, 2016). Accordingly, the Court ADOPTS the


R&R/s finding that Plaintiff has not met her burden to show that Defendant's

reasons for terminating her were pretextual.


TV. CONCLUSION

      For the foregoing reasons/ the Court AFFIRMS the R&R and ORDERS

that Plaintiffs case be DISMISSED.



      IT IS SO ORDERED this ^ l^ day of March/ 2022.




                                                     a.
                                     HONORABLE STEV^C. JONES
                                     UNITED STATES DISTRICT JUDGE




                                     23
